Case 8:20-cv-02453-VMC-AAS Document 71 Filed 11/22/21 Page 1 of 3 PageID 2565




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    MIKE BRINKMAN,


                Plaintiff,

    v.                                                                  Case: 8:20-cv-02453-
                                                                        VMC-AAS

    ACCOUNT RESOLUTION SERVICES, LLC.,


          Defendant.
    ________________________________/

      JOINT NOTICE OF COMPLIANCE WITH COURT ORDERED IN
     PERSON CONFERENCE IN PREPARATION OF JOINT PRETRIAL
             STATEMENT AND SUPPORTING MATERIALS

           Plaintiff Mike Brinkman (“Plaintiff”) and Defendant Account Resolution

   Services, LLC (“ARS”)1 jointly files this Joint Notice of Compliance with Court-

   Ordered in Person Conference in preparation for the Joint Pretrial Statement

   and Supporting materials and state:

           1.      On November 11, 2021, Lead Counsel for each Party conducted an

   in person meeting at the Law Office of Morgan & Morgan located in Tampa,

   Florida.




   1
     The legal name of the Defendant is Healthcare Revenue Recovery Group, LLC d/b/a ARS Account Resolution
   Services.
Case 8:20-cv-02453-VMC-AAS Document 71 Filed 11/22/21 Page 2 of 3 PageID 2566




         2.    Prior to said meeting the Parties had prepared a working draft of

   the Joint Pretrial Statement, Jury Instructions, Witness List and Exhibit List.

         3.    During the conference, the Parties exchanged preliminary witness

   and exhibit list and created a private Dropbox to store and mutual share trial

   exhibits.

         4.    The Parties further discussed settlement options and interest, joint

   handling of common exhibits, any disputes or objections to proposed exhibits,

   the anticipated length of trial, any potential conflicts during the January trial

   period and an understanding to continue to exchange working drafts of each of

   the required documents, so that documents could be finalized and filed on or

   before December 2, 2021.

         WHEREFORE, Plaintiff and ARS respectfully inform this Court that both

   counsels have complied with this Court’s trial order and have met with each

   other prior to the Court’s November 22, 2021 deadline.



   Dated this 22nd day of November 2021.




                                          2
Case 8:20-cv-02453-VMC-AAS Document 71 Filed 11/22/21 Page 3 of 3 PageID 2567




   Respectfully submitted,

   /s/ Octavio “Tav” Gomez             /s/ Ernest H. Kohlmyer, III
   Octavio “Tav” Gomez                 Ernest H. Kohlmyer, III
   Florida Bar No.: 0338620            Florida Bar No.: 110108
   Morgan & Morgan, Tampa, P.A.        Shepard Smith Kohlmyer & Hand, PA
   201 N. Franklin Street, Suite 700   2300 Maitland Ctr Pkwy, Suite 100
   Tampa, Florida 33602                Maitland, Florida 32751
   Telephone: (812) 225-6745           Tel: 407-622-1772
   Facsimile: (813) 983-2889           Fax: 407-622-1884
   TGomez@ForThePeople.com             skohlmyer@shepardfirm.com
   Lsommers@ForThePeople.com           Attorneys for Defendant ARS
   Attorney for Plaintiff




                                       3
